  Case 3:17-cv-01656-BH Document 26 Filed 11/13/18                             Page 1 of 23 PageID 215


                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

JAVIER VELASQUEZ,                 §
                                  §
         Plaintiff,               §
                                  §
v.                                §                            Civil Action No. 3:17-CV-1656-BH
                                  §
EAN HOLDINGS, LLC, and ENTERPRISE §
TRUCK RENTAL, IN ITS ASSUMED OR §
COMMON NAME,                      §
                                  §
         Defendants.              §                            Consent Case

                              MEMORANDUM OPINION AND ORDER

         By consent of the parties and order of transfer dated September 1, 2017 (doc. 11), this matter

has been transferred for the conduct of all further proceedings and the entry of judgment. Before

the Court is Defendants’ Traditional and No Evidence Motion for Summary Judgment, filed July 30,

2018 (doc. 18). Based on the relevant filings, evidence, and applicable law, the motion is

GRANTED.

                                             I. BACKGROUND

         On July 31, 2015, Javier Velasquez (Plaintiff) rented a 26-foot box truck from Enterprise

Truck Rental in Dallas, Texas. (docs. 1-1 at 8-9; 21 at 5-7.)1 The following day, he loaded up the

truck with audio and lighting equipment for a concert in Amarillo, Texas. (doc. 21 at 5-6.) As he

was driving down a highway near Clarendon, Texas, one of the tires exploded, causing the truck to

roll over into a ditch. (docs. 1-1 at 9; 21 at 7.) He sustained unspecified personal injuries. (Id.)

         Plaintiff initially filed suit against EAN Holdings, LLC and Enterprise Truck Rental, in its



         1
          Citations to the record refer to the CM/ECF system page number at the top of each page rather than the page
numbers at the bottom of each filing.
  Case 3:17-cv-01656-BH Document 26 Filed 11/13/18                     Page 2 of 23 PageID 216


assumed or common name (Defendants), on May 19, 2017, in the 193rd Judicial District Court,

Dallas County, Texas, Cause No. DC-17-06021, and sought monetary damages exceeding $100,000.

(doc. 1-1 at 9-11.) He alleged that Defendants were negligent, negligent per se, and grossly

negligent for (1) failing to properly maintain and inspect the truck prior to its rental; (2) renting the

truck with an improperly inflated tire; (3) failing to implement and operate a proper tire maintenance

program; (4) failing to implement proper training, safety, maintenance and education procedures for

its employees regarding tires; (5) failing to correct the unreasonable dangerous condition posed by

the left rear tire of the truck; and (6) failing to keep proper logs and records of operation and

maintenance of the truck. (doc. 1-1 at 9.) Defendants removed the case to this court on the basis of

diversity jurisdiction on June 22, 2017. (doc. 1 at 2.)

        On July 30, 2018, Defendants moved for summary judgment on all claims against them.

(doc. 18.) Plaintiff filed his response on August 20, 2018 (doc. 20), and Defendants filed their reply

on August 31, 2018. (doc. 23.) This motion is now ripe for consideration.

                               II. EVIDENTIARY OBJECTIONS

        Both parties assert objections to the summary judgment evidence in their responsive

pleadings to the summary judgment motion. (docs. 21 at 4, fn. 4; 23 at 3.)

A.      Plaintiff’s Objections

        Plaintiff generally objects to Defendants’ exhibits and briefing as well as to the admissibility

of their expert report.

        1.      Defendants’ Motion and Exhibits

        Plaintiff appears to object to Defendants’ summary judgment motion, brief, and exhibits on

the grounds that they failed to comply with the Local Rules. (doc. 21 at 2, fn. 2.) He notes


                                                   2
  Case 3:17-cv-01656-BH Document 26 Filed 11/13/18                     Page 3 of 23 PageID 217


Defendants’ failure to file an appendix, as well as their failure to file their motion separately from

their brief. (See doc. 21 at 2, fn. 2.)

        Local Rule 7.1 addresses motion practice, including the requirements for an appendix, while

Local Rule 7.2 creates the standard for briefs. See L.R. 7.1, 7.2. Local Rules 56.3, 56.5, and 56.6

address the content for a motion for summary judgment, and its briefing and appendix requirements.

See L.R. 56.4-56.6. Courts have discretion to decline to strike filings, even when they violate the

Local Rules. See, e.g., Green v. JPMorgan Chase Bank, N.A., No. 3:11-CV-1498-N, 2013 WL

11609925, at *2 (N.D. Tex. Aug. 16, 2013) (“The Court in its discretion declines to strike the

appendix in this instance, but it advises [the defendant] and its counsel to abide by the Local Rules

in future filings.”); Graham v. Dallas Indep. Sch. Dist., No. 3: 04-CV-2461-B, 2006 WL 2468715,

at *4 (N.D. Tex. Aug. 24, 2006) (“Under ordinary circumstances, the court might overlook these

untimely filings and consider plaintiff’s summary judgment response and evidence in the interests

of justice.”).

        Plaintiff’s objection is OVERRULED. Defendants’ exhibits will be considered only where

they have provided specific citations to indicate the portions of the documents relied upon. See City

of Clinton v. Pilgrim’s Pride Corp., 654 F. Supp. 2d 536, 541 (N.D. Tex. Sept. 14, 2009) (declining

to strike a party’s appendix for violations of the Local Rules, but limiting consideration of its

appendix).

        2.       Defendants’ Expert Report

        Plaintiff objects to Defendants’ expert report on grounds that “it lacks foundation and/or is

not reliable or relevant in violation of Fed. R. Civ. P. 702.” (doc. 21 at 4, fn. 4.)

        In Daubert v. Merrell Dow Pharmaceuticals, the Supreme Court acknowledged that Federal


                                                   3
  Case 3:17-cv-01656-BH Document 26 Filed 11/13/18                        Page 4 of 23 PageID 218


Rule of Evidence 702 serves as the proper standard for determining the admissibility of expert

testimony. 509 U.S. 579, 597-98 (1993). In fact, Rule 702 was amended to incorporate the

principles first articulated by the Supreme Court in Daubert, as well as those enunciated in

subsequent cases applying Daubert. See FED. R. EVID. 702 Advisory Committee Notes. Rule 702

now provides that:

        A witness who is qualified as an expert by knowledge, skill, experience, training, or
        education may testify in the form of an opinion or otherwise if:
               (a) the expert’s scientific, technical, or other specialized knowledge will help
               the trier of fact to understand the evidence or to determine a fact in issue;
               (b) the testimony is based upon sufficient facts or data;
               (c) the testimony is the product of reliable principles and methods; and
               (d) the expert has reliably applied the principles and methods to the facts of
               the case.

FED. R. EVID. 702. Under this rule, the main issue is whether a particular expert has “sufficient

specialized knowledge to assist the jurors in deciding the particular issues in this case.” Kumho Tire

Co. v. Carmichael, 526 U.S. 137, 156 (1999) (citations omitted). A court has discretion to keep an

expert witness from testifying if it finds that the witness is not qualified to testify in a particular field

or on a given subject. Wilson v. Woods, 163 F.3d 935, 937 (5th Cir. 1999).

        The key factors in evaluating expert testimony are relevance and reliability. Daubert, 509

U.S. at 589. The burden is on the proponent of the expert testimony to establish its admissibility by

a preponderance of the evidence. Id. at 592 n.10; see FED. R. EVID. 104(a). The proponent does not

have to demonstrate that the testimony is correct, only that the expert is qualified and that the

testimony is relevant and reliable. Moore v. Ashland Chem.,Inc., 151 F.3d 269, 276 (5th Cir. 1998).

The court’s inquiry is flexible in that “[t]he relevance and reliability of expert testimony turns upon

its nature and the purpose for which its proponent offers it.” United States v. Valencia, 600 F.3d 389,

424 (5th Cir. 2010) (citation omitted). “As a general rule, questions relating to the bases and sources

                                                     4
  Case 3:17-cv-01656-BH Document 26 Filed 11/13/18                               Page 5 of 23 PageID 219


of an expert’s opinion affect the weight to be assigned that opinion rather than its admissibility and

should be left for the [trier of fact’s] consideration.” Viterbo v. Dow Chem. Co., 826 F.2d 420, 422

(5th Cir. 1987).

         “Daubert standards apply not merely at trial, but also on summary judgment.” Gen. Star

Indem. Co. v. Sherry Brooke Revocable Trust, 2001 WL 34063890, at *9 (W.D. Tex. Mar. 16,

2001); see also Kumho Tire Co., 526 U.S. at 146 (affirming district court decision granting motion

for summary judgment in light of its decision to exclude expert testimony pursuant to Daubert). To

be considered on summary judgment, “an expert affidavit must include materials on which the

expert based his opinion, as well as an indication of the reasoning process underlying the opinion.”

Michaels v. Avitech, Inc., 202 F.3d 746, 754 (5th Cir., 2000), cert. denied, 531 U.S. 926 (Oct. 10,

2000) (quoting Boyd v. State Farm Ins. Companies, 158 F.3d 326, 331 (5th Cir. 1998). “Without

more than credentials and a subjective opinion, an expert’s testimony that ‘it is so’ is not

admissible.” Viterbo v. Dow Chem. Co., 826 F.2d 420, 424 (5th Cir. 1987).

         Defendants submit the affidavit and expert report of their tire expert, Joseph Grant, who

examined the tires and opined that the tires were appropriately maintained, and the tire blowout

resulted because the truck was overloaded. (doc. 18-2 at 1, 3.)2 He made the following conclusions:

         (1)      The right rear inner and outer dual drive tires experienced tread and steel belt
                  detachments and subsequent air loss. Based upon the remains of both tires,
                  the outside dual failed first followed by failure of the inner dual tire. The
                  failure of both tires was the result of a significant overload condition placed
                  on the tires.

         (2)      The left rear outside rear dual drive tire had not failed at the time of the
                  accident but had an obvious bulged distorted appearance on the tread as a

         2
           Mr. Grant has a Bachelor of Science Degree in Mechanical Engineering, was employed as a tire engineer
at a tire manufacturer for more than 34 years, and has been consulted on for tire failure analysis for over 15 years.
(doc. 18-2 at 2.) Plaintiff does not object to Mr. Grant’s qualifications as an expert.

                                                      5
  Case 3:17-cv-01656-BH Document 26 Filed 11/13/18                     Page 6 of 23 PageID 220


                result of an internal separation. This tire was close to failing in a similar
                manner to the right side tires.

        (3)     The conditions on the right and left dual drive tires overall are consistent
                with an overloading condition placed on the drive axle tires. The physical
                evidence on the tires does not indicate a chronic overloading but rather a
                short term overloading that was occurring at the time of the tire failures.

        (4)     The worn appearance and overall condition of all of the tires on the
                Enterprise rental truck indicated that the overall maintenance of the tires had
                been appropriate.

(Id. at 3.) He states that his conclusions were based upon “a reasonable degree of engineering

certainty.” (Id.)

        Plaintiff contends that Mr. Grant’s theory that the tire blowout was the result of “short term

overloading” is flawed because “Defendants (and their expert) do not even attempt to establish how

much weight was actually loaded in the vehicle at the time Plaintiff was driving it and when the tires

exploded.” (doc. 21 at 2.)

        Mr. Grant does not explain how he reached his conclusions after examining the tires, but

only that he did observe the tires and that he did reach those conclusions. His affidavit does not

establish the actual weight on the truck at the time of the accident, the minimal weight the tires could

tolerate, or the actual source of the weight that caused the tires to explode (i.e. the payload’s weight

versus the truck’s weight). It does not identify the methodology he used, nor provide any

explanation of the reasoning process utilized in reaching his conclusions. Mr. Grant appears to be

relying primarily, if not exclusively, on experience to form his conclusion that the cause of the tire

blowout was an overloading condition, but fails to articulate how his experience led to his

conclusions, why his experience is a sufficient basis for the conclusions reached, and how his

experience is reliably applied to the facts of the case. See Kumho, 526 U.S. at 152 (stressing that


                                                   6
  Case 3:17-cv-01656-BH Document 26 Filed 11/13/18                     Page 7 of 23 PageID 221


the Daubert factors may be relevant to the reliability of experience-based testimony and that the

same level of intellectual rigor that characterizes the practice of an expert in the relevant field is

employed whether basing testimony upon professional studies or personal experience).

       Expert opinions that fail to set forth a discernable methodology are conclusory and lack the

requisite evidentiary reliability mandated by Rule 702. To be competent summary judgment

evidence, an expert’s report must contain some “indication of the reasoning process underlying the

opinion.” Boyd v. State Farm Ins. Cos., 158 F.3d 326, 331 (5th Cir. 1998); see Michaels, 202 F.3d

at 754 (finding that an expert’s statement, without justification, that a repair to an aircraft’s vacuum

pump should take longer than 3.2 hours could not defeat summary judgment). Neither Daubert nor

the Federal Rules of Evidence “requires a district court to admit opinion evidence which is

connected to existing data only by the ipse dixit of the expert.” General Electric Co. v. Joiner, 522

U.S. at 136, 146 (1997). Mr. Grant’s affidavit and expert report offers a subjective opinion devoid

of an underlying factual basis or explanation that the accident was caused by an acute overloading

of the truck. As Mr. Grant’s opinions are unsupported by any analysis of the facts of this litigation,

and are silent on the methodology or reasoning process utilized, the conclusions of this report cannot

be used as summary judgment evidence on the element of causation.

       Plaintiff’s motion to exclude and strike Defendant’s expert testimony is GRANTED.

B.      Defendants’ Objections

       Defendants argue that the court should strike any opinions contained in Plaintiff’s affidavit

because he was not properly designated as an expert and lacks the qualifications to make such

opinions. (doc. 22 at 2.)

       A party seeking summary judgment may rely on any form of evidence listed in Rule 56(c).


                                                   7
  Case 3:17-cv-01656-BH Document 26 Filed 11/13/18                     Page 8 of 23 PageID 222


See Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986). While the form of the summary judgment

evidence need not be admissible, the content of the evidence must meet evidentiary requirements.

Goodwin v. Johnson, 132 F.3d 162, 186 (5th Cir. 1997); Salas v. Carpenter, 980 F.2d 299, 305 (5th

Cir. 1992) (quoting Broadway v. City of Montgomery, 530 F.2d 657, 661 (5th Cir. 1976) (“Evidence

inadmissible at trial cannot be used to avoid summary judgment.”)); see also Anderson v. Dallas

Cty., No. 3:05-CV-1248-G, 2007 WL 1148994, at *3 (N.D. Tex. Apr. 18, 2007) (noting “for

example, while an affidavit has limited admissibility at trial, it is sufficient evidence to support or

defeat a motion for summary judgment even though inadmissible statements in the affidavit, such

as hearsay statements, may not be considered by the court”). Federal Rule of Evidence 103(a)(1)

requires an objecting party to make specific objections detailing the specific evidence it wishes to

strike and stating the specific grounds for striking it. Tucker v. SAS Inst., Inc., 462 F. Supp. 2d 715,

722 (N.D. Tex. 2006) (citing United States v. Avants, 367 F.3d 433, 445 (5th Cir. 2004)). “[A] trial

court judge must be fully apprised of the grounds of an objection.” Tucker, 462 F. Supp. 2d at 722.

Objections lacking specificity do not satisfy the requirements of Rule 103, and a loosely formulated

and imprecise objection does not preserve error. Id. (citing United States v. Polasek, 162 F.3d 878,

883 (5th Cir. 1998).

        Plaintiff’s affidavit provides his first-hand account of the accident and the events leading up

to the accident. (doc. 22-1.) It states that he personally oversaw the loading of equipment on the

truck and determined that the total payload of the truck at the time of the accident was less than

4,500 pounds. (doc. 21-1 at 4.) He also includes a copy of a page from Defendants’ website, which

specified that the payload capacity for the same truck model is 10,000 pounds. (Id.; doc. 21-2.)

        Defendants generally object to “any opinions contained within the Plaintiff’s affidavit, and


                                                   8
  Case 3:17-cv-01656-BH Document 26 Filed 11/13/18                    Page 9 of 23 PageID 223


move[] this Court to STRIKE said opinions from consideration.” (doc. 23 at 3.) Defendants do not,

however, identify the specific statements or opinions they seek to strike. (See id.) As noted, Rule

103(a)(1) requires an objection that details the specific evidence to be stricken and the specific

grounds therefor. See Tucker, 462 F. Supp. 2d at 722 (noting that “[t]he court is not required to

review large quanta of evidence to ferret out inadmissible statements”); Shepherd v. Dallas County,

2008 WL 656889, at *6 (N.D. Tex. Mar. 6, 2008) (overruling objections because the movant failed

to point to inadmissible components). To the extent that Plaintiff’s affidavit contains statements that

constitute expert testimony, those statements will not be considered. Salas, 980 F.2d at 304 (holding

that a court should not strike an entire affidavit when portions are inadmissible); see also Williamson

v. U.S. Dep’t of Agric., 815 F.2d 368, 383 (5th Cir. 1987) (holding that a court should disregard the

inadmissible portions of a challenged affidavit).

          Because Defendants’ general objection to “any opinions” contained in the affidavit does not

meet the specificity requirements of Rule 103(1)(a), it is OVERRULED, and their motion to strike

is DENIED. See, e.g., Hannon v. Kiwi Servs., No. 3:10-CV-1382-K-BH, 2011 WL 7052795, at *2

(N.D. Tex. Dec. 30, 2011), adopted as modified, 2012 WL 234650 (N.D. Tex. Jan. 24, 2012)

(denying a motion to strike for lack of specificity); Highpoint Risk Servs. LLC v. Companion Prop.

& Cas. Ins. Co., No. 3:14-CV-3398-L(BH), 2016 WL 4479511, at *8 (N.D. Tex. Aug. 25, 2016)

(same).

                           III. SUMMARY JUDGMENT STANDARD

          Summary judgment is appropriate when the pleadings and evidence on file show that no

genuine issue exists as to any material fact and that the moving party is entitled to judgment as a




                                                    9
 Case 3:17-cv-01656-BH Document 26 Filed 11/13/18                                Page 10 of 23 PageID 224


matter of law. FED. R. CIV. P. 56(a).3 “[T]he substantive law will identify which facts are material.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A genuine issue of material fact exists

“if the evidence is such that a reasonable jury could return a verdict for the non-moving party.” Id.

         The movant makes a showing that there is no genuine issue of material fact by informing the

court of the basis of its motion and by identifying the portions of the record that reveal there are no

genuine material fact issues. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). If it “bears the

burden of proof on an issue, either because [it] is the plaintiff or as a defendant [it] is asserting an

affirmative defense, [it] must establish beyond peradventure all of the essential elements of the claim

or defense to warrant judgment in [its] favor.” Fontenot v. Upjohn Co., 780 F.2d 1190, 1194 (5th

Cir. 1986) (emphasis in original). The moving party can also meet its summary judgment burden by

“pointing out to the district court [] that there is an absence of evidence to support the nonmoving

party’s case.” Celotex Corp., 477 U.S. at 325 (internal quotation omitted). There is “no genuine

issue as to any material fact [where] a complete failure of proof concerning an essential element of

the nonmoving party’s case necessarily renders all other facts immaterial.” Id. at 323.

         Once the movant meets its summary judgment burden, the non-movant must then direct the

court’s attention to evidence in the record sufficient to establish that there is a genuine issue of

material fact for trial. Celotex Corp., 477 U.S. at 324. It must go beyond its pleadings and designate


         3
            Defendants move for traditional summary judgment under Tex. R. Civ. P. 166a(c) and for “no evidence”
summary judgment under Fed. R. Civ. P. 56(b). Federal courts sitting in diversity jurisdiction apply federal, rather than
state, procedural law, however. Exxon Corp. v. Burglin, 42 F.3d 948, 950 (5th Cir. 1995); see also Galindo v. Precision
Am. Corp., 754 F.2d 1212, 1216 (5th Cir. 1985) (“Texas substantive law, of course, governs this diversity suit. Rule 56,
Fed. R. Civ. P., however, governs the propriety of summary judgment.”) (citation omitted). A “no evidence” motion
for summary judgment, while conceptually correct, “neither accurately describes federal law nor has any particular
import in the vernacular of federal summary judgment procedure.” Royal Surplus Lines Ins. Co. v. Brownsville Indep.
Sch. Dist., 404 F. Supp. 2d 942, 948 (S.D. Tex. 2005); see also Gandara v. Wal-Mart Its Assumed Name or Common
Name Including Wal-Mart Stores Texas L.P., No. 3:16-CV-0818-D, 2017 WL 1021307, at *2 (N.D. Tex. Mar. 16, 2017)
(citing TEX. R. CIV. P. 166a(i)) (“[T]he term ‘no-evidence’ summary judgment motion is used in Texas state procedure,
not federal procedure.”). Defendants’ motion will be considered under Rule 56.

                                                          10
 Case 3:17-cv-01656-BH Document 26 Filed 11/13/18                                 Page 11 of 23 PageID 225


specific facts to show there is a genuine issue for trial. Id.; Anderson, 477 U.S. at 249.4 While all

of the evidence must be viewed in a light most favorable to the motion’s opponent, Anderson, 477

U.S. at 255 (citing Adickes v. S.H. Kress & Co., 398 U.S. 144, 158-59 (1970)), neither conclusory

allegations nor unsubstantiated assertions satisfy the non-movant’s summary judgment burden. Little

v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994) (en banc); Topalian v. Ehrman, 954 F.2d

1125, 1131 (5th Cir. 1992). Moreover, Rule 56 imposes no obligation for a court “to sift through

the record in search of evidence to support a party’s opposition to summary judgment.” Adams v.

Travelers Indem. Co., 465 F.3d 156, 164 (5th Cir. 2006) (quoting Ragas v. Tenn. Gas Pipeline Co.,

136 F.3d 455, 458 (5th Cir. 1998)).

         Summary judgment in favor of the movant is proper if, after adequate time for discovery, the

motion’s opponent fails to establish the existence of an element essential to its case and as to which

it will bear the burden of proof at trial. Celotex, 477 U.S. at 322–23.

                                                 IV. ANALYSIS

         Defendants move for summary judgment and seek the dismissal of all claims being asserted

against them by Plaintiff. (doc. 18.)

A.       Negligence

         Defendants argue that summary judgment is proper because there is no genuine issue of

material fact to support the essential elements of Plaintiff’s negligence claims. (doc. 18 at 3.)

         The elements of a negligence cause of action in Texas are: (1) the existence of a legal duty;

     (2) a breach of that duty; and (3) damages proximately caused by that breach. Boudreaux v.

         4
          “The parties may satisfy their respective burdens by ‘citing to particular parts of materials in the record,
including depositions, documents, electronically stored information, affidavits or declarations, stipulations . . .
admissions, interrogatory answers, or other materials.’” Rooters v. State Farm Lloyds, 428 F. App’x 441, 445 (5th
Cir. 2011) (citing FED. R. CIV. P. 56(c)(1)).

                                                           11
 Case 3:17-cv-01656-BH Document 26 Filed 11/13/18                    Page 12 of 23 PageID 226


Swift Transp. Co., Inc., 402 F.3d 536, 540-41 (5th Cir. 2005) (citing IHS Cedars Treatment Ctr. of

Desoto, Tex., Inc. v. Mason, 143 S.W.3d 794, 798 (Tex. 2004)).

       1.      Legal Duty

       Defendants contend that there is no evidence that they had the duty to load the truck, to

inspect the truck after loading, or to ensure proper weight limits. (doc. 18 at 4.) Plaintiff never

alleged that Defendants had those duties, however. (doc. 1-1 at 4.) He claims they had the duty to

inspect the tires, maintain the tires, maintain proper inspection procedures, and tproperly train their

employees. (Id.) Because Defendants do not address the duties actually alleged by Plaintiff, they

fail to meet their initial summary judgment burden on the first element of his negligence claim.

       2.      Breach of Duty

       Defendants also argue that there is no evidence that they breached any of the duties alleged

by Plaintiff. (doc. 18 at 4.) They have met their initial burden of showing that no genuine issue of

material fact exists with respect to the second element of Plaintiff’s negligence claim. The burden

now shifts to Plaintiff to identify record evidence demonstrating the existence of a genuine issue of

material fact on the duties alleged breached by Defendants.

       “The plaintiff must establish both the existence and the violation of a duty owed to the

plaintiff by the defendant to establish liability in tort.” Greater Hous. Transp. Co. v. Phillips, 801

S.W.2d 523, 525 (Tex. 1990). Plaintiff contends that Defendants are using their expert report “to

argue against breach by trying to establish an ‘acute overload and/or overweight situation’ at the

time of the incident.” (doc. 21 at 8.) Because Plaintiff’s affidavit provides “uncontroverted

evidence” that the truck’s payload was less than 4,500 pounds, he argues, a genuine issue of material

fact exists on whether Defendants breached a duty. (Id.) This argument conflates breach of duty


                                                  12
 Case 3:17-cv-01656-BH Document 26 Filed 11/13/18                                  Page 13 of 23 PageID 227


with proximate causation. “Breach of [a legal duty] and causation are separate inquiries, however,

and an abundance of evidence as to one cannot substitute for a deficiency of evidence as to the

other.” Alexander v. Turtur & Assocs., 146 S.W.3d 113, 119 (Tex. 2004). The weight of payload

on the truck is relevant to the issue of causation, not breach.

         Even though Defendants failed to provide summary judgment evidence proving that the

cause of the accident was an overloading of the truck, Texas law is clear that an accident alone is

no evidence of a breach. See Trejo v. Laredo Nat’l Bank, 185 S.W.3d 43, 48 (Tex. App.–San

Antonio 2005, no pet.) (“[T]he occurrence of an accident is not of itself evidence of negligence.”).

To prevail, Plaintiff must prove each and every element of his negligence claim, including breach.

See Midwest Emp’rs Cas. Co. ex rel. English v. Harpole, 293 S.W.3d 770, 776 (Tex. App.—San

Antonio 2009, no pet.) (listing breach as an essential element of a negligence cause of action).

Regardless of the duty owed by Defendants, Plaintiff must still come forth with competent summary

judgment evidence to prove that they breached a duty. Nabors Drilling, U.S.A., Inc. v. Escoto, 288

S.W.3d 401, 404 (Tex. 2009). Other than his pleadings, Plaintiff has not designated any facts

demonstrating that Defendants breached a legal duty.5

         As the non-movant, Plaintiff is “required to identify specific evidence in the record, and to

articulate the ‘precise manner’ in which that evidence supported [his] claim.” ContiCommodity

Servs. Inc., v. Ragan, 63 F.3d 438, 441 (5th Cir. 1995). By failing to counter with specific facts to


         5
            In a footnote, Plaintiff points out that he did not receive the maintenance records of the truck as part of his
discovery requests, even though Defendants agreed to provide them. (doc. 21 at 5, fn. 6.) When a party believes it needs
more time to obtain discovery to respond satisfactorily to a motion for summary judgment, Rule 56(f) is the proper
remedy. Int’l Shortstop, Inc. v. Rally’s, Inc., 939 F.2d 1257, 1266 (5th Cir. 1991). A party must show: (1) why he needs
additional discovery; and (2) how that discovery would likely create a fact issue that would defeat summary judgment.
See Stearns Airport Equip. Co. v. FMC Corp., 170 F.3d 518, 535 (5th Cir. 1999). Plaintiff does not assert Rule 56(f),
argue that summary judgment must be denied without those maintenance records, or show why those records are needed
or how they would create a fact issue to defeat summary judgment. Notably, the discovery deadline has passed.

                                                           13
 Case 3:17-cv-01656-BH Document 26 Filed 11/13/18                     Page 14 of 23 PageID 228


show a genuine dispute exists on a breach of duty, Plaintiff has not met his burden to avoid summary

judgment on his negligence claim.

       Because breach is an essential element of negligence, Defendants are entitled to summary

judgment on Plaintiff’s negligence cause of action.

       3.      Proximate Cause

       Defendants also move for summary judgment on the ground that there is no genuine issue

of material fact regarding the element of proximate cause. They first contend that summary

judgment is proper because their summary judgment evidence disproves Plaintiff’s proximate cause

allegations. (doc. 18 at 3.) In the alternative, they argue that Plaintiff will be unable to provide the

evidence necessary to prove proximate cause. (Id. at 4).

       The defendant’s breach is the “proximate cause” of the plaintiff’s harm when it is a “cause

in fact” of the harm and “a reasonable prudent person should have known of the anticipated danger

created by [breach].” Allison v. J.P. Morgan Chase Bank, N.A., No. 1:11-CV-342, 2012 WL

4633177, at *13 (E.D. Tex. Oct. 2, 2012); Del Lago Partners, Inc. v. Smith, 307 S.W.3d 762, 774-75

(Tex. 2010). Mere conjecture, guess, or speculation cannot establish proximate cause; the plaintiff

must prove proximate cause with evidence of probative force. Doe v. Boys Clubs of Greater Dallas,

Inc., 907 S.W.2d 472, 477 (Tex. 1995). “The test for cause in fact is whether the negligent act or

omission was a substantial factor in bringing about the injury, without which the harm would not

have occurred.” Id. (internal citations omitted). But it is not enough to show cause in fact if the

defendant did nothing more “than furnish a condition which made the injury possible.” Id. “Instead,

the evidence must show that the negligence was the proximate, not the remote, cause of the injuries

and justify the conclusion that the injury was the natural probable result.” Katy Springs & Mfg. v.


                                                  14
 Case 3:17-cv-01656-BH Document 26 Filed 11/13/18                    Page 15 of 23 PageID 229


Favalora, 476 S.W.3d 579, 590 (Tex. App.—Houston [14th Dist.] 2015, pet. denied) (citing

Ambrosio v. Carter’s Shooting Ctr., Inc., 20 S.W.3d 262, 266 (Tex. App.—Houston [14th Dist.]

2000, pet. denied).

               a.      Insufficient Evidence to Refute Proximate Cause

       Defendants first argue that there is no genuine issue of material fact on the issue of causation

because their expert report provides uncontroverted evidence that the tire failed because of an acute

overload, and not due to any of the reasons alleged by Plaintiff. (doc. 18 at 3.) Plaintiff responded

with his affidavit, as well as copies of the pictures and vehicle information on the same truck model

as published on Defendants’ website. (docs. 21 at 3; 22-1; 22-2.) It states that he personally

inspected the payload on the truck and was familiar with the weight of each item, and that the total

payload in the vehicle, including the weight of the equipment, passenger, and driver, was less than

4,500 pounds. (doc. 22-1 at 3, 4.) Plaintiff noted that Defendants’ website indicated that the payload

capacity for the same truck model is 10,000 pounds. (Id.; doc. 22-2.) He argues that his affidavit

contradicts Defendants’ expert report and demonstrates the existence of a disputed material fact on

the element of causation. (doc. 21 at 5.)

       Because Defendants’ expert evidence has been found inadmissible, there is no summary

judgment evidence to support their theory on causation. Defendants have not presented evidence

to disprove the proximate cause element, and the burden does not shift to Plaintiff to identify

evidence in the record raising a genuine issue of material fact as to their theory.

               b.      No Evidence of Proximate Cause

       Defendants alternatively argue that they are entitled to summary judgment because there is

no evidence of proximate causation. (doc. 18 at 4.) They contend that because Plaintiff did not


                                                 15
 Case 3:17-cv-01656-BH Document 26 Filed 11/13/18                                    Page 16 of 23 PageID 230


designate an expert witness, and the deadline for such designations has run,6 there is no evidence

of proximate cause. (Id.)

         Expert testimony is generally required to establish causation when the nature of the

negligence is not within the experience of a layperson. Guevara v. Ferrer, 247 S.W.3d 662, 665

(Tex. 2007); see also Goodyear Tire & Rubber Co. v. Rios, 143 S.W.3d 107, 118 (Tex. App.–San

Antonio 2004, pet. denied) ( explaining that when “a lay person’s general experience and common

sense will not enable that person to determine the issue, expert testimony is required.”); Mack

Trucks, Inc. v. Tamez, 206 S.W.3d 572, 583 (Tex. 2006) (explaining that expert testimony is

necessary when an issue involves matters beyond the jurors’ common understanding); Roark v.

Allen, 633 S.W.2d 804, 809 (Tex. 1982) (holding that the testimony of an expert is required when

the alleged negligence is not within the experience of the layperson); Romo v. Ford Motor Co., 798

F. Supp. 2d 798, 807-10 (S.D. Tex. 2011) (determining whether a tire blowout caused a vehicle to

rollover is not within the general understanding and common knowledge of lay jurors).

Consequently, when the issue of causation in a negligence case involve subject-matter outside the

common knowledge and experience of a layperson, a plaintiff ordinarily cannot meet his burden of

proof without testimony from a qualified expert. FFE Transp. Servs., Inc. v. Fulgham, 154 S.W.3d

84, 89-90 (Tex. 2004); see, e.g., Driskill v. Ford Motor Co., 269 S.W.3d 199, 204-05 (Tex.

App.–Texarkana 2008, no pet.) (“There is no expert testimony bridging the analytical gap between



         6
            Under Federal Rule of Civil Procedure 26(a)(2), each party must disclose the identities of any expert
witnesses it intends to use to present evidence at trial. FED. R. CIV. P. 26(a)(2)(A). Furthermore, a written report of any
witnesses “retained or specifically employed to provide expert testimony” must accompany the disclosure. FED. R. CIV.
P. 26(a)(2)(B). A party who fails to comply with these rules is generally precluded from using the witness “to supply
evidence on a motion, at a hearing, or at a trial, unless the failure was substantially justified or is harmless.” FED. R. CIV.
P. 37(c)(1); Primrose Operating Co. v. Nat’l Ins. Co., 382 F.3d 546, 563 (5th Cir. 2004). Plaintiff does not dispute
Defendants’ claim that he did not timely designate an expert witness. (See generally doc. 21.) Nor does he contend that
he should now be allowed to submit expert testimony.

                                                             16
 Case 3:17-cv-01656-BH Document 26 Filed 11/13/18                     Page 17 of 23 PageID 231


the origin of the fire in the left rear area of an engine compartment and the conclusion that the [speed

control deactivation switch] in the areas was the cause-in-fact of the fire,” but only “a strong

suspicion,” thus requiring expert evidence from the plaintiff to avoid summary dismissal).

        To meet their initial summary judgment burden, Defendants point to the absence of expert

testimony opining that the proximate cause of the accident was the condition of the tires when the

truck was rented to Plaintiff. (doc. 18 at 4.) They argue that expert testimony is required because

determining the cause in fact of a tire blowout involves matters beyond the realm of layperson

understanding. (Id. at 5.) Because Plaintiff failed to designate any expert witnesses, Defendants

maintain that he will be unable to present any evidence to establish all the requisite elements of his

negligence claim including proximate causation. (Id.) In other words, they argue that summary

judgment is appropriate here because there will be no probative evidence for the jury to consider

when determining the actual cause of the tire blowout. (Id. at 4.) A defendant can meet its summary

judgment obligation by pointing the court to the absence of evidence to support a required element

of a plaintiff’s case. See Keeley v. Cisco Sys., 2003 WL 21919771, *3 (N.D. Tex. Aug. 8, 2003)

(noting that although the defendant did not explicitly argue that plaintiff had failed to establish a

prima facie case, the defendant had satisfied its summary judgment burden by pointing to the

absence of evidence to support one prong of the prima facie case) (citing Celotex, 477 U.S. at 325).

In pointing out the need for, and lack of evidence of this necessary element, Defendants have met

their summary judgment burden. See Celotex, 477 U.S. at 325. Accordingly, the burden shifts to

Plaintiff to identify evidence in the record that raises a genuine issue of material fact. Id. at 322-24;

Little, 37 F.3d at 1075.

        Plaintiff does not address Defendants’ expert testimony argument; nor does he dispute the


                                                   17
 Case 3:17-cv-01656-BH Document 26 Filed 11/13/18                      Page 18 of 23 PageID 232


claim that he did not timely designate an expert witness. (See generally doc. 21.) He responds with

an affidavit setting out his first-hand account of renting and driving the truck, as well as of the

accident itself. (Id. at 5; doc. 21-1.) It states that he “felt and heard at least one of the tires on the

[truck] blow out,” and at the scene of the accident he “saw that at least one of the tires . . . had

exploded.” (doc. 22-1 at 5.) It also states that the tire blowout was not caused by any overloading

of the truck because it was carrying less than 4,500 pounds, which was much less than the 10,000-

pound payload capacity for that truck model. (Id. at 4.) Plaintiff argues that because his affidavit

is based on personal knowledge, it is sufficient evidence of a genuine issue of material fact on

whether Defendants’ negligence caused the accident and his resulting injuries. (doc. 21 at 5.)

        Plaintiff claims that the condition of the tires when the truck was rented to him was the

ultimate cause of the accident. In a similar negligence case against one of the defendants in this

case, the plaintiff alleged that it leased her a vehicle with a defective front axle, frame, and front

right tire, which caused an accident and her resulting injuries. See Madere v. Enterprise Holdings,

Inc., No. 5:15-CV-954-XR, 2016 WL 7235829 (W.D.Tex., Dec. 14, 2016). Because she was

alleging that her injuries were caused by a defect in the vehicle, the court looked to products liability

case law to determine whether expert testimony was required. Id. at *2. In products liability cases,

Texas courts have “consistently required competent expert testimony and objective proof” of a

defect. Nissan Motor Co. Ltd. v. Armstrong, 145 S.W.3d 131, 137 (Tex. 2004). Determining the

actual cause of a tire blowout necessarily “involves the use of specialized equipment and techniques

unfamiliar to the ordinary person.” Id.; see also Cooper Tire & Rubber Co. v. Mendez, 204 S.W. 3d

797, 806 (Tex. 2006) (“Tire chemistry and design and the adhesion properties of tire components

is a highly specialized field.”); Romo, 798 F. Supp. 2d at 810 (“[W]hether the tire contained a defect


                                                   18
 Case 3:17-cv-01656-BH Document 26 Filed 11/13/18                  Page 19 of 23 PageID 233


and whether that defect caused the accident involves complex questions of chemistry, engineering

and physics beyond the general understanding and common knowledge of laypersons.”). Given that

Plaintiff’s negligence claim involves a tire failure, the Court agrees with Madere that expert

testimony is required. See also Gharda USA, Inc. v. Control Sols., Inc., 464 S.W.3d 338, 348 (Tex.

2015); Cooper Tire, 204 S.W.3d at 806.

       Without expert testimony, Plaintiff has provided no evidence supporting his claim that the

alleged condition of the tire, as caused or allowed by the acts or omissions of Defendants,

proximately caused his injury. See, e.g., Kallassy v. Cirrus Design Corp., No. CIV.A.

3:04-CV-0727N, 2006 WL 1489248, at *8 (N.D. Tex. May 30, 2006), aff’d, 265 F. App’x 165 (5th

Cir. 2008) (granting summary judgment on the negligence claim where plaintiff could not prove

causation due to insufficiency of expert evidence); Mack Trucks, 206 S.W.3d at 572 (upholding

summary judgment of a negligence claim against a manufacturer because, without expert testimony

on the cause of a fire after a tanker truck overturned, the plaintiff did not have any evidence of

causation); Renfro v. Hartford Underwriters Ins. Co., 2007 WL 2446281, at *2 (N.D. Tex. Aug. 29,

2007) (dismissing the plaintiff’s claims on summary judgment where expert testimony was required

to prove causation and the plaintiff failed to designate an expert witness in accordance with the

court’s scheduling order).

       Plaintiff’s affidavit does not constitute probative evidence of causation on subject-matter

beyond the familiarity of the ordinary person. It is not a substitute for expert testimony. “Proof

other than expert testimony will constitute some evidence of causation only when a layperson’s

general experience and common understanding would enable the layperson to determine from the

evidence, with reasonable probability, the causal relationship between the event and the condition.”


                                                19
 Case 3:17-cv-01656-BH Document 26 Filed 11/13/18                     Page 20 of 23 PageID 234


Mack Trucks, 206 S.W.3d at 583. Further, a plaintiff’s “best guess” of the cause of an accident is

too speculative to establish cause in fact. Loeser v. Sans One, Inc., 187 S.W.3d 685, 686 (Tex.

App.–Houston [14th Dist] 2006, pet. denied). “Evidence that is so slight as to make any inference

a guess is in legal effect no evidence.” Ford Motor Co. v. Ridgway, 135 S.W.3d 598, 601 (Tex.

2004). Plaintiff’s general observations from the accident is evidence that a tire blowout occurred;

his suspicion that the tire failed because it was not properly maintained or inflated, is just that -

suspicion. Marathon Corp. v. Pitzner, 106 S.W.3d 724, 728 (Tex. 2003) (citing Johnson v. Brewer

& Pritchard, P.C., 73 S.W.3d 193, 210 (Tex. 2002) (citations omitted) (explaining that “some

suspicion linked to other suspicion produces only more suspicion, which is not the same as some

evidence”). Other than the existence of the accident itself, Plaintiff has not presented any evidence

that Defendants breached a duty owed to him, or that such breach proximately caused his injuries.

Trejo, 185 S.W.3d at 48; See Ford Motor, 135 S.W.3d at 602 (“The inference of defect may not be

drawn . . . from the mere fact of a product-related accident.”).

       Because Plaintiff tenders no competent evidence that identifies a specific defect or condition

in the tires, and fails to rule out other possible causes of the accident, his negligence claim fails as

a matter of law. See Madere, 2016 WL 7235829, at *2 (granting summary judgment when the

plaintiff merely relies upon her subjective belief, conclusory statements, and hearsay that the vehicle

leased to her had a defective front axle, frame, and front tire in opposition to the motion).

Defendants are thus entitled to summary judgment on Plaintiff’s negligence claim as a matter of law.

B.      Negligence Per Se

       Plaintiff also asserts a claim for negligence per se. (doc. 1-1 at 4.)

       “Negligence per se applies when the courts have determined that the violation of a particular


                                                  20
 Case 3:17-cv-01656-BH Document 26 Filed 11/13/18                    Page 21 of 23 PageID 235


statute is negligence as a matter of law.” Allison, 2012 WL 4633177, at *13 (citation omitted); Smith

v. Merritt, 940 S.W.2d 602, 607 (Tex. 1997). To state a claim for negligence per se, a plaintiff must

show that the defendant violated a qualifying statute and that its violation was the proximate cause

of his damages. Ward v. ACS State & Local Sols., Inc., 328 S.W.3d 648, 652 (Tex. App.–Dallas

2010, no pet.) (citing Moughon v. Wolf, 576 S.W.2d 603, 604 n. 2 (Tex. 1978)). Plaintiff, however,

does not identify the violation of a specific statute, much less state how courts have considered any

statute to establish negligence per se in this case. “Without a citation to a statutory provision, the

Court is unable to determine whether the facts alleged state a violation of any statute.” Del Castillo

v. PMI Holdings N. Am. Inc., No. 4:14-cv-03435, 2016 WL 3745953, at *5 (S.D. Tex. July 13,

2016); see also In re Oil Spill by the Oil Rig DEEPWATER HORIZON, 835 F. Supp. 2d 175, 182

(E.D. La. 2011), aff'd sub nom. In re DEEPWATER HORIZON, 745 F.3d 157 (5th Cir. 2014) (“[T]he

complaints fail to plead any specific statutes on which the negligence per se claims are based;

therefore, those claims are dismissed.”); Estrada v. Indus. Transit, Inc., No. 4:16-CV-013-DAE,

2016 WL 10967300, at *3 (W.D. Tex. Aug. 8, 2016) (“Plaintiff has failed to state a claim for

negligence per se because he failed to plead the statute [Defendant] allegedly violated.”). By not

identifying a law or statute in support of his negligence per se claim, Plaintiff has failed to state a

negligence per se claim for which relief can be granted. Further, Plaintiff’s negligence per se claim

also fails for the same reasons as his negligence claim.

       Because Plaintiff has failed to demonstrate the existence of a genuine issue of material fact

on all of the essential elements for a negligence cause of action, Defendants are also entitled to

summary judgment on the negligence per se claim.




                                                  21
 Case 3:17-cv-01656-BH Document 26 Filed 11/13/18                  Page 22 of 23 PageID 236


C.     Gross Negligence

       Plaintiff maintains that the acts or omissions of Defendants, which underlie his negligence

cause of action, “constituted gross negligence, which proximately caused [the accident] and

Plaintiff’s injuries and damages.” (doc. 1-1 at 5.)

       In Texas, “gross negligence is not a separate cause of action apart from negligence.” RLI Ins.

Co. v. Union Pac. R. Co., 463 F. Supp. 2d 646, 649-50 (S.D. Tex. 2006) (citing Prati v. New Prime,

Inc., 949 S.W.2d 552, 557 (Tex. App.–Amarillo 1997, writ denied)). “Rather, the degree of

negligence characterized as gross negligence is relevant only to a recovery of exemplary damages.”

Id. (citing Riley v. Champion Int’l Corp., 973 F. Supp. 634, 641 (E.D. Tex. 1997)). “[A] plaintiff

cannot recover exemplary damages,” however, “until he or she proves an entitlement to actual

damages.” Newman v. Tropical Visions, Inc., 891 S.W.2d 713, 721-22 (Tex. App.–San Antonio

1994, writ denied) (citing cases); see also Riley, 973 F. Supp. 634, 648 (E.D. Tex. 1997) (“Recovery

of actual damages in tort is necessary to pursue a gross negligence claim.”). In other words, a

defendant “cannot be grossly negligent without being negligent.” Driskill, 269 S.W.3d at 206.

Accordingly, Plaintiff’s gross negligence claim fails for the same reasons as his negligence claim.

       Because there is no evidence of causation, Defendants are also entitled to summary judgment

on the gross negligence claim.

                                        V. CONCLUSION

       Defendants’ motion for summary judgment is GRANTED.                  By separate judgment,

Plaintiff’s negligence, negligence per se, and gross negligence claims against Defendants will be

DISMISSED WITH PREJUDICE.




                                                 22
Case 3:17-cv-01656-BH Document 26 Filed 11/13/18     Page 23 of 23 PageID 237


    SO ORDERED on this 13th day of November, 2018.



                                           ___________________________________
                                           IRMA CARRILLO RAMIREZ
                                           UNITED STATES MAGISTRATE JUDGE




                                      23
